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                                                             Attorney for Plaintiff Adam McDorman
                                                         6
                                                         7                    IN THE UNITED STATES DISTRICT COURT
                                                         8                          FOR THE DISTRICT OF ARIZONA
                                                         9
                                                        10 Adam McDorman,                                )
                                                                                                         )
                                                        11
                                                                                Plaintiff,               ) Case No. 2:22 CV 02180-SRB
                                                                                                         )
                                                        12                                               )
                                                                     vs.
ROBINSON LAW OFFICES




                                                                                                         ) JOINT REPORT REGARDING
                       202 E. Earll Drive., Suite 490




                                                        13                                               )
                         Phoenix, Arizona 85012




                                                             Valley Christian Schools, an Arizona        )     SETTLEMENT TALKS
                              (602) 885-2627




                                                        14                                               )
                                                             non-profit corporation,
                                                        15                                               )
                                                                                                         )
                                                        16                     Defendant.                )
                                                        17
                                                        18         Pursuant to this Court’s March 24, 2023 Case Management Order, dkt. #16,
                                                        19   and its October 31, 2023 Order, dkt. #25, Plaintiff Adam McDorman, by and
                                                        20
                                                             through his undersigned counsel, and Defendant Valley Christian Schools, by their
                                                        21
                                                             undersigned counsel, file this Joint Report Regarding Settlement Talks.
                                                        22
                                                                   The parties engaged in a good faith settlement conference but determined that
                                                        23
                                                             settlement negotiations at this stage are premature, as additional discovery is needed
                                                        24
                                                             by both parties to facilitate more substantial settlement positions and discussion.
                                                        25
                                                             Assistance from the Court in settlement efforts is not needed at this time.
                                                        26
                                                        27
                                                        28
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                                                              Case 2:22-cv-02180-SRB Document 27 Filed 11/07/23 Page 2 of 2




                                                         1         The parties will engage in a second good faith settlement conference during
                                                         2   the month of January 2024 after the parties have had more time to exchange
                                                         3   additional evidence and conduct additional discovery.
                                                         4
                                                         5         Respectfully submitted this 7th day of November, 2023.
                                                         6
                                                         7
                                                         8                                        ROBINSON LAW OFFICES
                                                         9
                                                                                                  By:      /s/ Krista S. Robinson
                                                        10
                                                        11                                                 Krista S. Robinson, Esq.,
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                                                        13                                                 Attorney for Plaintiff
                         Phoenix, Arizona 85012
                              (602) 885-2627




                                                        14                                                       -and-
                                                        15                                        RIGHI FITCH LAW GROUP
                                                        16
                                                        17                                       By: s/Joe Pishghadamian (with permission)
                                                        18
                                                                                                          Elizabeth S. Fitch
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                                                                                                          Phoenix, AZ 85018
                                                        21                                              Attorneys for Defendant
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